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             IN THE UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF DELAWARE

IN RE:                                )
                                      )          CHAPTER 11
MATTRESS FIRM, INC., et al.,          )
   Debtors,                           )          CASE NUMBER 18-12241-CSS
                                      )          JOINTLY ADMINISTERED
                                      )          Hearing Date: 12 noon on 11/27/2018
                                      )          Judge C.J. Christopher S. Sontchi
                                      )

FIRST SUPPLEMENTAL PETITION FOR RELIEF FROM AND LIFTING
    OF THE AUTOMATIC STAY PROVISIONS OF 11 U.S.C. § 362

To the Honorable United States Bankruptcy Judge:

      COME NOW ISAAC JENKS (hereinafter “Petitioner”) pursuant to 11

U.S.C. § 362(d), creditor and party in interest in this Chapter 11 case, files this

Motion requesting that the automatic stay be modified to allow certain claims

against Mattress Firm, Inc. (“Debtor”) to be litigated in a state court proceeding

involving the Debtor and other non-debtor parties. Petitioner shows the following:

                           A. Jurisdiction and Venue

                                           1.
      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

Venue of this contested matter is proper in this Court Pursuant to 28 U.S.C. § 1409




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                                            2.

      Although the underlying New York County, a New York civil lawsuit is not

a core proceeding, this Motion to lift stay is a core proceeding under U.S.C. § 157.

                                  B. Introduction

                                            3.

      Petitioner brought, and has pending, a claim for personal injuries against the

above Debtor.

                                            4.
      Petitioner sustained severe injuries after being run over by a commercial

motor vehicle allegedly operated by Debtor on August 6, 2018. Debtor was placed

on notice of such claim by and through the service of the lawsuit on July 11, 2017.

                                            5.
      Petitioner’s civil action was filed and is pending in the State Court of Fulton

County State of Georgia now captioned Isaac Jenks v. Jamal Alexander Chavous,

Cordell & Associates, Inc. and Mattress Firm, Inc., Civil Action Number

17EV003254 (hereinafter Underlying State Court Civil Action).

                                            6.

      Debtor’s defense costs and liabilities are covered by an initial primary layer

of insurance coverage in the amount of one million dollars with excess layers of

additional liability insurance coverage available on top of the primary one million
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of coverage. The above primary and excess layers of liability insurance were

issued by Zurich American Insurance Company. The applicable declaration pages

were previously filed with this Court. [Doc. 663, at Exhibit A].

                                            7.

      The debtor is a commercial motor carrier operating interstate under US OT

No. 934103 and also under USDOT No. 935583). [Doc. 663, at Exhibits B and C].

In the Petitioner’s Underlying Civil Action, Petitioner claims allege that Mattress

Firm, Inc. was acting as the motor carrier that caused injuries to Petitioner. As

such, additional motor vehicle liability policies of insurance covering Mattress

Firm, Inc. should also exist, which would provide insurance coverage for

Petitioner’s claimed injuries and damages. Prior to the automotive stay, Petitioner

was in the process of discovering the details of these policies in his underlying

civil action. Plaintiff believes that these additional policies of liability insurance

do exist, because a motor carrier cannot operate without having the same in place,

and that such polices will provide insurance coverage to compensate the Petitioner

for his alleged injuries and damages for the claims asserted by Petitioner in his

Underlying Civil Action.




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                                            8.

        As a result of Debtor’s Voluntary Petition under Chapter 11 of the

Bankruptcy Code and the application of 11 U.S.C. § 362(a), Petitioner is

prohibited from pursuing his claims for personal injuries action against Debtor in

the Underlying State Court Civil Action, absent Order from this Court lifting such

stay.

                               C. Relief Requested

                                            9.

        Under section 362(d)(1) of the Bankruptcy Code, the court may grant relief

from the automatic stay “for cause.” 11 U.S.C. § 362(d)(1). “Cause is determined

on a case by case basis. In re Tucson Estates, Inc., 912 F.2d 1162, 1166 (9th Cir.

1990). Although the term “cause” is not defined, the legislative history to this

section indicates that cause includes “a desire to permit an action to proceed in

another tribunal.” H.R. Rep.No. 595, 95th Cong., 1st Sess. 343 (1977). Relief

from the automatic stay has been granted to allow a creditor to obtain a judgment

against a debtor in name only in order to recover from the debtor’s insurer.

International Business Machines v. Fernstrom & Van Co. (In re Fernstrom & Van

Co.), 938 F.2d 731 (7th Cir. 1991).




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                    D. Action to Recover Insurance Proceeds

                                             10.

      Courts often modify the automatic stay to allow a debtor to obtain a

judgment and collect from a debtor’s insurer, without prejudicing the debtor’s

estate. Id; See matter of Holtkamp, 699 F.2d 505, 508-09 (7th Cir. 1982) (allowing

a personal injury action to proceed since there was no harm to the debtor because

the debtor’s insurance company had “assumed full financial responsibility for

defendant that litigation”); Foust v. Munson S. S. Lines, 299 U.S. 77, 87, 57 S. Ct.

90, 95(1936) (allowing wrongful death action against bankrupt defendant to

proceed despite stay; plaintiff “entitled to maintain an action against the insurer for

the amount of his judgment but not exceeding the amount of insurer’s liability to

the debtor under the policy”).      The rationale behind such modification is as

follows:

      When the Court is reasonably confident that the policy proceeds will
      be sufficient to satisfy all creditors with claims that may be paid under
      the policy, the court should grant relief from stay to permit an action
      either against the debtor, if necessary, or against the insurer. Because
      the policy proceeds will be available only to creditors with the type of
      claims covered by the policy, there is no depletion of assets that
      would otherwise be available to satisfy general, unsecured claims, and
      there is therefore no reason to delay the creditor seeking to recover

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      under the policy. Moreover, the insurer will almost invariably be
      responsible for the cost of defense, so there should be no added
      expense for the estate.
3 Collier on Bankruptcy ¶362.07[3][a][I] (Lawrence P. King, ed., 15th Ed. Revised

1999).

                                           11.

      Given the existence of the liability insurance coverage to Debtor as

described herein, it is believed the Underlying State Civil Action could be

defended at no expense to the Debtors. Therefore, the continuation of the personal

injury case will not hinder, burden, delay or be inconsistent with Debtor’s Chapter

11 reorganization.

                            E. Continuation of Action

                                           12.

      Courts often modify the automatic stay to allow civil action against debtors

to continue in their original forums. See, e.g., Tucson Estates, F.2d at 1166-1170

(9th Cir. 1990) (overturning the re-imposition of a stay by the bankruptcy court as

an abuse of discretion and allowing a state court proceeding to continue to

judgment and to liquidate the creditors/shareholders’ claims).




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                                             13.

      In determining whether cause exists to lift the stay, courts apply a three-

pronged balancing test which focuses on: (a) the possible prejudice to the estate,

(b) the hardship imposed upon the party in interest if the stay remains in place, and

(c) whether the Movant has a likelihood of prevailing in the underlying litigation.

In re Continental Airlines, Inc., 152 B.R. 420 (D. Del. 1993); In re Piperi, 133 B.R.

846, 849 (Bankr. S.D. Tex. 1990); In re Pro Football Weekly, 60 B.R. 824, 826

(ND. Ill, 1986); In re Bock Laundry Machine, 37 B.R. 564, 566 (Bankr. N.D. Ohio

1984).

      (a) No Prejudice to the Estate.

      As Congress stated in discussing its intent in providing relief from the

automatic stay:

      It will often be more appropriate to permit proceedings to continue in
      their place of origin, when no great prejudice to the bankruptcy estate
      would result, in order to leave the parties to their chosen forum and to
      relieve the bankruptcy court from many duties that may be handled
      elsewhere.
In re Honosky, 6 B.R. 667, 669 (D.C.S.D. W. Va. 1980), citing S. Rep. No. 989,

95th Cong., 2d Sess. 50, reprinted in [1978] U.S. Code Cong. & Ad. News 5836.

Under these considerations, stay relief is appropriate in this matter.


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      Petitioner seeks to modify the stay solely to allow his Underlying State Civil

Action seeking compensation for personal injuries to proceed for purposes of

allowing Movant to recover from Debtor’s insurer the amounts available under all

existing policies of liability insurance that may provide coverage for petitioner’s

claims.

      Further, the resolution of the Petitioner’s Underlying State Civil Action will

allow the claim filed by Petitioner to be liquidated. See In re Peterson, 116 B.R.

247, 250 (D. Cob. 1990) (stay should be lifted if Movant is simply seeking to

establish the fact and amount of Debtors’ liability). As a result, lifting the stay will

not prejudice the Debtors or their Chapter 11 estate but may actually benefit the

Estate by liquidating Petitioner’s claims.

      (b) Petitioner Will Suffer Hardship if Stay Remains in Place.

      Petitioner filed his Underlying State Civil Action seeking compensation for

personal injuries against Debtor on July 10, 2017. Mattress Firm, Inc. was served

with process on July 11, 2017. During the past fifteen or so months, the Petitioner

has expended a great deal of time and expense on conducting discovery and

prosecuting the Underlying State Court Civil Action. If the stay remains in place,

Petitioner will be forced to unnecessarily delay the prosecution of his claim. In re

Curtis, 40 B.R. 795, 800, 805-806 (Bankr. CD. Utah 1984)(noting that the interest

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of judicial economy, and the expeditions and economical determination of

litigation for the parties are factors to be considered when deciding whether stay

should be lifted).

          (c) Petitioner’s Claims are not Frivolous

      The final prong of this analysis requires just a minimal showing that the

Petitioner’s claims are not “frivolous.” Id. Even slight probability of success on

the merits may be sufficient to support the lifting of the automatic stay for cause in

appropriate cases. In re Continental Airlines, Inc., 152 B.R. 420 (D. Del. 1993).

The basis of the Underlying State Court Civil Action is one in tort seeking

compensation for personal injuries allegedly caused by the Debtor and/or its

agents. The Debtor has not filed any motions seeking to dismiss the case or

seeking a summary judgement.

                                            14.

      Petitioner has made all of the requisite showings to allowing him to assert

his claims against the Debtors in the Underlying State Court Civil Action. The

stay should be modified to allow Movant to continue to pursue his claims against

the Debtor in the Underlying State Court Civil Action.




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      WHEREFORE, PREMISES CONSIDERED, Movant prays that the stay

afforded by 11 U.S.C. § 362 be modified so as to permit Movant to continue the

Underlying State Court Civil Action now pending in State Court of Fulton County

State of Georgia now captioned Isaac Jenks v. Jamal Alexander Chavous, Cordell

& Associates, Inc. and Mattress Firm, Inc., Civil Action Number 17EV003254.

      A proposed Consent Order is made apart of this Motion.

      Respectfully submitted, this 13th day of November 2018.


                                     FRIED ROGERS GOLDBERG LLC

                                     /s/ R. Sean McEvoy
                                     R. SEAN MCEVOY
                                     GEORGIA STATE BAR NUMBER 490918

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                                       )

                           ORDER VACATING STAY

      Isaac Jenks, a creditor in the above-captioned case, having moved Court for an

Order Modifying the Automatic Stay under 11 U.S.C. Section 362, and the Court

having reviewed the papers submitted and good cause having been made; it is

therefore ORDERED on this date _______________, that the automatic stay be and

is hereby modified to allow Isaac Jenks to prosecute claims against Mattress Firm,

Inc. (“Debtor”) in the State Court of Fulton County State of Georgia where his civil

action personal injury claims against Debtor and other non-debtors are pending in

Civil Action File Number 17EV003254. Isaac Jenks is not permitted to execute any

judgment against Debtor beyond the policy limits of all liability insurance covering

the Debtor; and therefore, it is FURTHER ORDERED that the automatic stay

remains in effect in all other respects, but without prejudice to the rights of Isaac

Jenks to file an unsecured proof of claim in this bankruptcy case; and it is

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FURTHER ORDERED that a copy of this Order be served upon all parties in this

matter within ____________ days of this Order.

      SO ORDERED, this ____ day of __________________, 2018.



                                     ______________________________
                                     Chief Judge, Christopher S. Sontchi
                                     U.S. Bankruptcy Court

ORDER PREPARED BY:



______________________________
R. SEAN MCEVOY
GEORGIA STATE BAR NUMBER 490918

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